        CASE 0:07-cr-00123-JNE-RLE            Doc. 143     Filed 10/09/07     Page 1 of 2



                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MINNESOTA

United States of America,

              Plaintiff,

v.                                                                 Crim. No. 07-123 (JNE/RLE)
                                                                   ORDER
Erik Lee Rekonen (1),
John Francis Hasty (2),
Derek Jospeh Carlson (4), and
Darren Charles Roivanen (5),

              Defendant.

       This case is before the Court on a Report and Recommendation issued by the Honorable

Raymond L. Erickson, Chief Magistrate Judge, United States District Court for the District of

Minnesota, on August 31, 2007. The magistrate judge recommended that the motions of

Defendants Rekonen, Hasty, and Roivanen to Suppress Evidence from Search and the motions of

Hasty, Carlson, and Roivanen to Suppress Statements be denied. Defendant Rekonen objected to

the Report and Recommendation, and the Government responded. Based on a de novo review of

the record, the Court adopts the Report and Recommendation.

       Therefore, IT IS ORDERED THAT:

       1.     The Motions of the Defendant Rekonen for Suppression of Evidence Obtained
              Through Illegal Search [Do cket No. 55] and to Suppress Search and Seizure
              Evidence [Docket No. 57] are DENIED.

       2.     The Motion of the Defendant Hasty to Suppress Evidence Obtained as a Result of
              Search and Seizure [Docket No. 79] is DENIED.

       3.     That the Motion of the Defendant Hasty to Suppress Statements, Admissions and
              Answers [Docket No. 82] is DENIED.

       4.     That the Motion of the Defendant Carlson to Suppress Statement [Docket No. 68] is
              DENIED.

       5.     That the Motion of the Defendant Roivanen to Suppress Confessions or Statements
              in the Nature of Confessions [Docket No. 117] is DENIED.


                                                 1
       CASE 0:07-cr-00123-JNE-RLE       Doc. 143   Filed 10/09/07     Page 2 of 2



      6.     That the Motion of the Defendant Roivanen to Suppress Evidence from
             Searches and Seizures [Docket No. 118] is DENIED.


Dated: October 5, 2007
                                                   s/ Joan N. Ericksen
                                                   JOAN N. ERICKSEN
                                                   United States District Judge




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